  1 Mariam S. Marshall, Esq. ( Bar No. 157242)
    Zunilda Ramos, Esq. (Bar No. 161114)
  2 MARSHALL & RAMOS, LLP
    ATTORNEYS AT LAW
  3 Two Worlds Center
    91 Gregory Lane, Suite 7
  4 Pleasant Hill, California 94523
    Telephone: (925) 446-4546
  5 Facsimile: (925) 446-4549
      mmarshall@marshallramoslaw.com
  6
    Attorneys for Plaintiff and Trustee,
  7 LOIS I. BRADY
  8                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF CALIFORNIA
  9
      In re:                                               Case No. 18-40217 CN
 10
      SIMON CHAN,                                          Chapter 7
 11
               Debtor.
 12                                             /
 13 LOIS I. BRADY,
    Trustee in Bankruptcy,                                 Adversary Proceeding No. 18-04115
 14
           Plaintiff,
 15 v.
 16 CHANEL H. CHAN, a.k.a. CHANEL
    HAOFAN CHAN,
 17
            Defendant.
 18
                                           /
 19
                                     CERTIFICATE OF SERVICE
 20
            I, Katie Evans, certify that I am over the age of eighteen and not a party to this
 21
    action. My business address is Two Worlds Center, 91 Gregory Lane, Suite 7, Pleasant
 22
    Hill, California 94523. On today's date, I served the foregoing documents described
 23
    below:
 24
    1.      SUMMONS AND NOTICE OF SCHEDULING CONFERENCE IN AN
 25         ADVERSARY PROCEEDING;

 26 2.         COMPLAINT: (1) TO AVOID FRAUDULENT TRANSFERS OF REAL AND
               PERSONAL PROPERTY; (2) TO DETERMINE LIABILITY FOR AVOIDED
 27            TRANSFERS; AND (3) TO SELL REAL PROPERTY FREE AND CLEAR OF
               CO-OWNER’S INTEREST; and
 28
      3.       ORDER RE INITIAL DISCLOSURES AND DISCOVERY CONFERENCE

Case: 18-04115       Doc# 6   Filed: 12/12/18       Entered: 12/12/18 12:25:51   Page 1 of 2
  1 on the parties shown below by placing a true copy thereof enclosed in a sealed
  2 envelope with postage thereon fully prepaid, in the U.S. Mail, as indicated below,
  3 addressed as follows:
  4 Chanel H. Chan                                          Defendant
    5534 Belarus Street
  5 Danville, CA 94506
  6 Simon S. Chan                                           Uniform Statutory Form
    Attorney in Fact                                        Power of Attorney for Defendant,
  7 5534 Belarus Street                                     Chanel H. Chan
    Danville, CA 94506
  8
           I declare under penalty of perjury that the foregoing is true and correct. Executed
  9
    in Pleasant Hill, California on December 12, 2018.
 10
 11
                                                      /s/ Katie Evans
 12                                                  Katie Evans
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


Case: CERTIFICATE
      18-04115 OF  SERVICE
                  Doc# 6 Filed: 12/12/18      Entered: 12/12/18 12:25:51    Page 2 of 2
